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 1                                                            THE HONORABLE BENJAMIN H. SETTLE

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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
 8
      COMMANDER EMILY SHILLING; et al.,                               No. 2:25-cv-00241 BHS
 9
                           Plaintiffs,                                SECOND SUPPLEMENTAL
10                                                                    DECLARATION OF MATTHEW P.
                    v.                                                GORDON IN SUPPORT OF
11                                                                    PLAINTIFFS’ REPLY IN
                                                                      SUPPORT OF MOTION FOR
12    DONALD J. TRUMP, in his official capacity as                    PRELIMINARY INJUNCTION
      President of the United States; et al.,
13
                           Defendants.
14

15          I, Matthew P. Gordon, hereby declare as follows:
16          1.      I am an attorney with the law firm Perkins Coie LLP and counsel for Plaintiffs in
17   the above-captioned matter. I make this declaration based on personal knowledge about which I
18   am competent to testify.
19          2.      I submit this second supplemental declaration to provide the Court true and
20   correct copies of certain documents submitted in support of Plaintiffs’ Motion for Preliminary
21   Injunction.
22          3.      Attached as Exhibit 27 is a true and correct copy Executive Order 14148, with
23   the title “Initial Rescissions of Harmful Executive Orders and Actions,” dated January 20, 2025,
24   retrieved from the Federal Register website at: https://www.govinfo.gov/content/pkg/FR-2025-
25   01-28/pdf/2025-01901.pdf.
26
      SECOND SUPPL.                         Perkins Coie LLP           Lambda Legal Defense and           Human Rights
                                     1201 Third Avenue, Suite 4900        Education Fund, Inc.         Campaign Foundation
      DECLARATION OF                 Seattle, Washington 98101-3099     120 Wall Street, 19th Floor      1640 Rhode Island
      MATTHEW P. GORDON ISO                Phone: 206.359.8000         New York, NY. 10005-3919             Avenue NW
      MOT. FOR PRELIMN. INJ. - 1            Fax: 206.359.9000            Telephone: 212-809-8585       Washington, D.C. 20036
     (CASE NO. 2:25-CV-241 BHS)
            Case 2:25-cv-00241-BHS            Document 83              Filed 03/19/25            Page 2 of 3




 1          4.      Attached as Exhibit 28 is a true and correct copy Executive Order 14170, with

 2   the title “Reforming the Federal Hiring Process and Restoring Merit to Government Service,”

 3   dated January 20, 2025, retrieved from the Federal Register website at:

 4   https://www.govinfo.gov/content/pkg/FR-2025-01-30/pdf/2025-02094.pdf.

 5          5.      Attached as Exhibit 29 is a true and correct copy Executive Order 14187, with

 6   the title “Protecting Children From Chemical and Surgical Mutilation,” dated January 28, 2025,

 7   retrieved from the Federal Register website at: https://www.govinfo.gov/content/pkg/FR-2025-

 8   02-03/pdf/2025-02194.pdf.

 9          6.      Attached as Exhibit 30 is a true and correct copy Executive Order 14190, with

10   the title “Ending Radical Indoctrination in K-12 Schooling,” dated January 29, 2025, retrieved

11   from the Federal Register website at: https://www.govinfo.gov/content/pkg/FR-2025-02-

12   03/pdf/2025-02232.pdf.

13          7.      Attached as Exhibit 31 is a true and correct copy Executive Order 14201, with

14   the title “Keeping Men Out of Women’s Sports,” dated February 5, 2025, retrieved from the

15   Federal Register website at: https://www.govinfo.gov/content/pkg/FR-2025-02-11/pdf/2025-

16   02513.pdf.

17          8.      Attached as Exhibit 32 is a true and correct copy of the Palm Center’s report

18   titled “DoD’s Rationale for Reinstating the Transgender Ban Is Contradicted by Evidence,”

19   dated April 2018 (updated May 4, 2018), retrieved from: https://www.palmcenter.org/wp-

20   content/uploads/2018/04/Transgender-troops-are-medically-fit-pdf.pdf.

21          9.      Attached as Exhibit 33 is a true and correct copy of the U.S. Army webpage for

22   the Sergeant Audie Murphy Award, which notes that the award received by Plaintiff Sergeant

23   First Class Schmid “is a privilege earned by a few exceptional noncommissioned officers” who

24   “exemplify leadership characterized by personal concern for the needs, training, development

25   and welfare of soldiers and concern for families of soldiers,” retrieved from:

26   https://home.army.mil/greggadams/about/Garrison/sergeant-audie-murphy-award#qt0:0.
      SECOND SUPPL.                         Perkins Coie LLP        Lambda Legal Defense and Human Rights Campaign
                                     1201 Third Avenue, Suite 4900    Education Fund, Inc.              Foundation
      DECLARATION OF                 Seattle, Washington 98101-3099 120 Wall Street, 19th Floor 1640 Rhode Island Avenue NW
      MATTHEW P. GORDON ISO                Phone: 206.359.8000      New York, NY. 10005-3919       Washington, D.C. 20036
      MOT. FOR PRELIMN. INJ. - 2            Fax: 206.359.9000        Telephone: 212-809-8585      Telephone: (202) 568-5762
     (CASE NO. 2:25-CV-241 BHS)
            Case 2:25-cv-00241-BHS            Document 83              Filed 03/19/25            Page 3 of 3




 1          10.     Attached as Exhibit 34 is a true and correct copy of a news article by Tara Copp

 2   with the title “All 4 service chiefs on record: No harm to units from transgender service,” dated

 3   April 24, 2018, retrieved from the Military Times website at:

 4   https://www.militarytimes.com/news/your-military/2018/04/24/all-4-service-chiefs-on-record-

 5   no-harm-to-unit-from-transgender-service/.

 6          11.     Attached as Exhibit 35 is a true and correct copy of the declaration of Martha

 7   Soper, former Assistant Deputy, Health Policy in the Office of the Deputy Assistant Secretary of

 8   the Air Force, Reserve Affairs & Airman Readiness from October 2014 to September 2020,

 9   dated March 3, 2025, and which was filed in the case Talbott v. United States, No. 1:25-cv-

10   00240 (ACR), in the United States District Court for the District of Columbia as ECF No. 72-82

11   on March 7, 2025.

12          12.     Attached as Exhibit 36 is a true and correct copy of the Memorandum Opinion

13   issued by the United States District Court for the District of Columbia in Talbott v. United States,

14   No. 1:25-cv-00240 (ACR), on March 18, 2025 (ECF No. 89), granting the plaintiffs’ motion for

15   a preliminary injunction.

16

17          EXECUTED this 19th day of March, 2025, at Seattle, Washington.
18
                                                                s/ Matthew P. Gordon
19                                                              Matthew P. Gordon

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      SECOND SUPPL.                         Perkins Coie LLP        Lambda Legal Defense and Human Rights Campaign
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